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                                            18932
                                                        U.S. Department of Justice


                                                        United States Attorney
                                                        Eastern District of New York
 FJN/RMP/LAB/AA/RU                                      271 Cadman Plaza East
 F. #2009R01065/OCDETF#NY-NYE-616                       Brooklyn, New York 11201



                                                        April 1, 2025

 By ECF and E-Mail

 The Honorable Brian M. Cogan
 United States District Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

                Re:     United States v. Ismael Zambada Garcia
                        Criminal Docket No. 09-466 (BMC) (S-5)


 Dear Judge Cogan:

                 The government respectfully writes on behalf of the parties to request that the
 status conference currently scheduled for April 22, 2025 be adjourned until June 16, 2025 or
 until a date convenient for the Court thereafter, and that time until such date be excluded from
 calculations under the Speedy Trial Act in the interests of justice. The government and the
 defense now share a joint scheduling conflict on April 22, 2025, and the government has thus
 consulted with Your Honor’s courtroom deputy concerning other available dates and shared
 them with defense counsel. In addition, the parties have exchanged certain discovery materials
 and continued to discuss the potential for a resolution short of trial, while the capital case process
 and the government’s assessment of potential classified discovery remain pending. In light of all
 of those factors and the parties’ and the Court’s availability, the parties jointly request that the
 conference be adjourned to June 16, 2025. Additionally, the parties jointly ask that time be
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 excluded for the above reasons and respectfully submit that the interests of justice served by the
 adjournment and exclusion of time outweigh the interests of the public and the defendant in a
 speedy trial.

                                                      Respectfully submitted,

                                                      JOHN J. DURHAM
                                                      United States Attorney

                                              By:      /s/ Robert M. Pollack
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